
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 97-1579


                                   DAVID P. PRATT,

                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                Respondent, Appellee.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Steven J. McAuliffe, U.S. District Judge]
                                              ___________________

                              _________________________

                                        Before

                               Selya, Boudin and Stahl,

                                   Circuit Judges.
                                   ______________

                              _________________________

               Leo T. Sorokin, Federal Defender Office, for appellant.
               ______________
               Peter E. Papps, First Assistant United States Attorney, with
               ______________
          whom Paul  M. Gagnon, United  States Attorney, was on  brief, for
               _______________
          appellee.

                              _________________________


                                   November 6, 1997
                              _________________________





















                    SELYA,  Circuit Judge.   Petitioner-appellant  David P.
                    SELYA,  Circuit Judge.
                            _____________

          Pratt,  who is  currently  serving a  federal  sentence, filed  a

          second petition for post-conviction relief under 28 U.S.C.   2255

          (1994  and  Supp.  1996).1    Relying  on the  Antiterrorism  and

          Effective Death Penalty Act of 1996 (AEDPA), Pub. L. No. 104-132,

          110  Stat.  1214 (1996)  (codified  in scattered  sections  of 28

          U.S.C.),  the district  court dismissed  the  petition pro  forma
                                                                 ___  _____

          because  Pratt  had not  obtained  clearance  from the  court  of

          appeals.    AEDPA's novelty,  together  with the  odd  timing and

          peculiar circumstances of  the petitioner's case, take  us down a

          sometimes recondite  legal trail.   In the end, we  conclude that

          AEDPA applies here  and that, properly construed, it bars Pratt's

          attempt to prosecute a second habeas petition.

          I.  BACKGROUND
          I.  BACKGROUND

                    In April of 1994, a  federal petit jury in the District

          of New Hampshire heard testimony that, after a local police chief

          confiscated  several  of  Pratt's  firearms,  Pratt  sent  him  a

          mutilated  pig carcass.   Weighing this  and other  evidence, the

          jury found Pratt guilty of mailing a threatening communication in

          violation of 18 U.S.C.    876 (1994).  The  judge departed upward

          and sentenced Pratt to a lengthy  prison term.  The appeal period
                              
          ____________________

               1In terms, 28 U.S.C.   2255 speaks of a "motion" rather than
          a  "petition," yet  the  latter  word is  more  commonly used  to
          describe  the vehicle  by which  a person  held in  custody seeks
          post-conviction relief.  Although there may be occasions on which
          the terms have different meanings, this is not  one of them; and,
          therefore,  we use the term "petition" throughout this opinion in
          order to avoid  confusion.  By the  same token, we use  the terms
          "section 2255  petition,"  "habeas petition,"  and "petition  for
          post-conviction relief" interchangeably.

                                          2














          expired and Pratt's conviction became final.

                    After  unsuccessfully moving  pro se  to  file a  tardy

          notice  of appeal,  Pratt obtained  fresh counsel  and  filed his

          first section  2255 petition  on March  9, 1995.    He alleged  a

          violation  of  his   Sixth  Amendment  right  to   the  effective

          assistance of counsel premised on a  claim that, despite repeated

          requests,  his trial  attorney had  failed  to perfect  a timeous

          appeal of the conviction.  Pratt did not  aver, however, that his

          attorney's performance at  trial was constitutionally  defective.

          The district court granted the  petition in an unpublished order,

          vacated  the judgment, and  resentenced Pratt (thus  triggering a

          new appeal  period).  Pratt's  new lawyer filed a  timely appeal,

          but to no  avail; a panel of this court  affirmed the conviction.

          See Pratt v. United States, 73 F.3d 450, 454 (1st Cir. 1996).2
          ___ _____    _____________

                    On January  17, 1997,  Pratt filed  his second  section

          2255 petition, this  time seeking to set aside  his conviction on

          the  ground  that his  original  lawyer's  lack of  trial  acumen

          violated  Pratt's  Sixth   Amendment  right   to  the   effective

          assistance  of counsel.   On  April 8,  1997, the  district court

          dismissed  this petition without prejudice for failure to comport

          with  AEDPA's  "prior   approval"  prerequisite  for   second  or

          successive habeas petitions.  This appeal ensued.
                              
          ____________________

               2The panel  did, however, remand,  while retaining appellate
          jurisdiction,   to  obtain  a  clear  statement  of  the  reasons
          underlying the upward  departure.  See Pratt, 73  F.3d at 453-54.
                                             ___ _____
          After  Judge  McAuliffe released  an  explanatory  statement, see
                                                                        ___
          United States v. Pratt, 940 F. Supp. 424 (D.N.H. 1996), the panel
          _____________    _____
          issued  an unpublished  order dated  August 8,  1996, making  the
          affirmance unconditional.

                                          3














          II.  ANALYSIS
          II.  ANALYSIS

                    AEDPA took effect on April 24, 1996, after the district

          court resolved  Pratt's initial  habeas petition  but before  his

          second  petition eventuated.   The  new  law imposes  significant

          restrictions  on second or successive habeas petitions brought on

          behalf  of federal  prisoners.    These  restrictions  have  both

          procedural  and  substantive  dimensions.    Procedurally,  AEDPA

          incorporates by  reference in section  2255 the same  screen that

          AEDPA makes applicable  to second or successive  habeas petitions

          prosecuted on behalf of persons being held in state custody.  The

          statute  thus requires  a federal  prisoner,  before docketing  a

          second or successive  habeas petition in  the district court,  to

          obtain from  "the appropriate  court of  appeals .  . .  an order

          authorizing the  district court to consider the application."  28

          U.S.C.   2244(b)(3)(A) (as incorporated in 28 U.S.C.   2255); see
                                                                        ___

          also  Felker   v.  Turpin,   116  S.  Ct.   2333,  2337   (1996).
          ____  ______       ______

          Substantively,  AEDPA directs the  court of appeals  to condition

          its  authorization  of a  second  or successive  petition  on the

          applicant's showing of either:

                    (1) newly discovered evidence that, if proven
                    and  viewed in  light of  the  evidence as  a
                    whole, would  be sufficient  to establish  by
                    clear   and  convincing   evidence  that   no
                    reasonable  factfinder would  have found  the
                    movant guilty of the offense; or

                    (2) a  new rule of  constitutional law,  made
                    retroactive to cases on  collateral review by
                    the  Supreme   Court,  that   was  previously
                    unavailable.

          28 U.S.C.   2255.


                                          4














                    This  appeal  necessitates  that we  determine  whether

          Pratt's  second section 2255 petition comes within AEDPA's reach,

          and if  so, whether the  statute permits us to  authorize further

          proceedings  in the district  court.   Before pursuing  either of

          these  inquiries, however, we  pause to address  the government's

          contention that this court lacks jurisdiction to hear the instant

          appeal.

                                          A.
                                          A.

                    In the proceedings below,  the district court dismissed

          Pratt's  second habeas petition without prejudice, noting that he

          had  failed to  obtain clearance  from  the court  of appeals  as

          required by AEDPA.  The government contends that, inasmuch as the

          order is not dispositive of any issue, it is not a "final order,"

          28 U.S.C.   1291 (1994), and thus cannot support the weight of an

          appeal.  The government is wrong.

                    AEDPA's  prior  approval provision  allocates  subject-

          matter  jurisdiction to  the court  of appeals  by stripping  the

          district court of jurisdiction over a second or successive habeas

          petition unless and  until the court of appeals  has decreed that

          it may go forward.  See Nu ez v. United States, 96 F.3d  990, 991
                              ___ _____    _____________

          (7th Cir. 1996).  This  statutory directive means that a district

          court,  faced  with  an unapproved  second  or  successive habeas

          petition, must  either dismiss it, see id., or transfer it to the
                                             ___ ___

          appropriate court of appeals,3 see Benton v. Washington, 106 F.3d
                                         ___ ______    __________
                              
          ____________________

               3Transfers  can be accomplished by  resort to a statute that
          provides in pertinent part:


                                          5














          162, 164  (7th Cir. 1996); Liriano v. United States, 95 F.3d 119,
                                     _______    _____________

          122-23 (2d Cir. 1996).  The court below chose the former course.

                    If  Pratt  had  acknowledged that  AEDPA  governed  his

          latest petition,  the district  court's decision  might not  have

          been   appealable.    Here,   however,  Pratt   disputes  AEDPA's

          applicability.  He  can regain access to the  district court (and

          thereby vindicate his theory) only  by an appeal and a subsequent

          holding that  the district court  erred in applying AEDPA  to his

          latest petition.   The district court's order  is therefore final

          in the relevant sense, see In  re Nineteen Appeals Arising Out of
                                 ___ ______________________________________

          the San  Juan DuPont Plaza  Hotel Fire Litig., 982  F.2d 603, 608
          _____________________________________________

          (1st   Cir.  1992)  (explaining   that  section  1291's  finality

          requirement has  a practical cast),  and it is appealable.   That

          the  district court's  dismissal was  without prejudice is  of no

          moment.   Appellate courts  routinely exercise jurisdiction  over

          claims dismissed  without prejudice  when the  dismissal contains

          sufficient indicia of finality.  See, e.g., Presbytery of N.J. v.
                                           ___  ____  __________________

                              
          ____________________

                    Whenever a civil action is filed in a court .
                    .  . or  an appeal .  . .  is noticed  for or
                    filed  with such a court and that court finds
                    that  there is  a want  of jurisdiction,  the
                    court  shall, if  it is  in  the interest  of
                    justice, transfer  such action  or appeal  to
                    any other such  court in which the  action or
                    appeal could have been brought at the time it
                    was  filed  or  noticed, and  the  action  or
                    appeal  shall proceed as if it had been filed
                    in or noticed  for the court  to which it  is
                    transferred on  the date  upon  which it  was
                    actually filed in  or noticed  for the  court
                    from which it is transferred.

          28 U.S.C.   1631 (1994).

                                          6














          Florio,  40 F.3d  1454, 1461  (3d  Cir. 1994);  Kobleur v.  Group
          ______                                          _______     _____

          Hosp'n &amp; Med.  Servs., Inc., 954 F.2d 705, 708  (11th Cir. 1992);
          ___________________________

          Brady v.  Sullivan, 893 F.2d 872, 876  n.8 (7th Cir. 1989); Local
          _____     ________                                          _____

          No. 714  v. Greater  Portland Transit Dist.,  589 F.2d 1,  6 (1st
          _______     _______________________________

          Cir. 1978).

                    To  be  sure, Pratt  also contends  that even  if AEDPA

          applies generally  to  cases in  the  same temporal  posture  its

          provisions do not bar his  pursuit of post-conviction relief.  To

          this  extent, the  government's jurisdictional  jousting may  hit

          closer to  home.  Nevertheless,  we need  not spend much  time on

          this largely metaphysical debate.  In very similar circumstances,

          the Seventh Circuit has crafted a pragmatic approach to this sort

          of problem.   It  has declared  that it  will treat  a notice  of

          appeal as a request for an authorization to file a second section

          2255 petition and  thus preserve appellate jurisdiction  if doing

          so  will  save  unnecessary  paperwork  without  sacrificing  any

          party's substantial rights.  See Nu ez, 96 F.3d at 991.
                                       ___ _____

                    Pratt  invites us  to employ  that  approach here,  the

          appellate record is adequate to  the task, and taking this avenue

          expedites adjudication  of the matters  in issue.   We  therefore

          hold that, when a district court dismisses a second or successive

          petition without prejudice because the  court of appeals has  not

          approved its prosecution,  and the petitioner appeals,  the court

          of appeals may in its discretion treat  the notice of appeal as a

          request   for  authorization  to  file  a  second  or  successive

          petition.  We  exercise that discretion here to the extent, if at


                                          7














          all,  that it may  be necessary to  do so.   Either way,  we have

          jurisdictionto hearand determinetheissues raisedin Pratt'sappeal.



                                          B.
                                          B.

                    The  filing dates of Pratt's two section 2255 petitions

          straddle AEDPA's effective date.  On  this basis, Pratt maintains

          that the  question  whether the  statute  applies to  his  second

          petition must be answered in  the negative because doing so would

          place  an impermissible retroactive burden on his first petition.

          We disagree.

                    We  begin  our  analysis  by   remarking  the  obvious:

          applying  a  statute to  a  pleading  that  was filed  after  the

          statute's   effective  date   is   not  really   a  "retroactive"

          application in the classic sense.  Here, moreover, we know on the

          best of authority that Congress  intended that AEDPA apply to all

          section  2255 petitions filed after its effective date (April 24,

          1996).  See Lindh v. Murphy, 117 S. Ct. 2059, 2063 (1997).
                  ___ _____    ______

                    We  know,  too,  that the  Supreme  Court  recently and

          uncritically applied AEDPA to a prisoner's second habeas petition

          even though  the prisoner had  filed his first petition  prior to

          AEDPA's enactment.   See Felker, 116 S. Ct. at  2336-37.  Several
                               ___ ______

          courts  of appeals have followed suit.   See, e.g., In re Medina,
                                                   ___  ____  ____________

          109 F.3d 1556, 1561-62 (11th Cir. 1997); Roldan v. United States,
                                                   ______    _____________

          96 F.3d  1013, 1014 (7th Cir.  1996); Hatch v. Oklahoma,  92 F.3d
                                                _____    ________

          1012, 1014 (10th  Cir. 1996).   This approach is  sound not  only

          from a legal  perspective but also from the  standpoint of common


                                          8














          sense.  After all, if pre-AEDPA jurisprudence somehow attached to

          an entire  course of post-conviction  proceedings by virtue  of a

          prisoner's  having filed a  pre-enactment petition at  some point

          along  the way,  then  the  Court's opinion  in  Felker would  be
                                                           ______

          drained of all meaning.

                    Faced with these  formidable obstacles, Pratt  attempts

          to refocus the definition of retroactivity.  He reminds us of the

          Supreme Court's directive that a court which confronts a possible

          retroactivity problem should ask whether a freshly minted statute

          "attaches new legal  consequences to events completed  before its

          enactment."   Landgraf  v. USI  Film  Prods., 511  U.S. 244,  270
                        ________     _________________

          (1994).   Wielding this club,  Pratt asserts that the application

          of  AEDPA to his  second petition impermissibly  alters the legal

          consequences of his  first petition (which was  fully adjudicated

          prior to AEDPA's  passage).  This argument, in turn, leads him to

          embrace  the "mousetrapping" doctrine.   See Burris  v. Parke, 95
                                                   ___ ______     _____

          F.3d 465, 468-69 (7th Cir. 1996).  Based on this construct (which

          to  our  knowledge  has  not  been  adopted  outside  the Seventh

          Circuit), he argues  that, even if AEDPA  otherwise might control

          his  second  habeas  petition,  it   should  not  do  so  in  the

          circumstances of this case.4
                              
          ____________________

               4This extra step is a necessary element of Pratt's  position
          because  an affirmative  answer to  the above-described  Landgraf
                                                                   ________
          inquiry  does not  automatically  render a  statute impermissibly
          retroactive.  To  the contrary, the Landgraf Court  warned that a
                                              ________
          "statute does not operate [retroactively] merely because it . . .
          upsets  expectations based on  prior law."   511 U.S. at  269.  A
          conclusion of  retroactivity  instead  "comes at  the  end  of  a
          process  of judgment  concerning  the nature  and  extent of  the
          change  in the  law  and  the degree  of  connection between  the

                                          9














                    The particulars of Pratt's claim are fuzzy.  He appears

          to  be saying, with minimal elaboration,  that the district court

          would have entertained his second section 2255 petition under the

          prevailing  pre-AEDPA standard, see  McCleskey v. Zant,  499 U.S.
                                          ___  _________    ____

          467, 493 (1991)  (discussing the parameters of the  "abuse of the

          writ" principle), and  so, application of AEDPA's  more stringent

          standard to his second section  2255 petition will attach new and

          unforeseen legal consequences to the filing of his first petition

          (in  effect penalizing  him retroactively  for  having failed  to

          include  all   possible  constitutional   claims  in   his  first

          petition).   In Pratt's  view, this adverse  effect on  his post-

          conviction litigation strategy "mousetraps" him.

                    Even were we to address the mousetrapping  doctrine   a

          matter that  we leave  for  another day    Pratt  could not  take

          advantage of  it.  The  doctrine requires a habeas  petitioner to

          show that he consciously chose to withhold a potential ground for

          relief  from his first  petition because he  detrimentally relied

          upon pre-AEDPA law.   See, e.g., Alexander v.  United States, 121
                                ___  ____  _________     _____________

          F.3d 312, 314 (7th Cir. 1997); Roldan, 96 F.3d at 1014;  see also
                                         ______                    ___ ____

          In  re Magwood, 113 F.3d  1544, 1552-53 (11th  Cir. 1997).  Pratt
          ______________

          cannot carry this  burden.  Although he states perfunctorily that

          he "relied upon the  abuse of the writ law as  it existed when he

          filed  his [original]    2255"  petition, he  offers no  legal or

          factual support for this  conclusory statement.  More  is needed.

                              
          ____________________

          operation of  the new rule  and a relevant  past event."   Id. at
                                                                     ___
          270.

                                          10














          See  In  re  Medina,  109  F.3d  at  1562  n.1  (holding  that  a
          ___  ______________

          petitioner's   "one-sentence   conclusory  statement"   did   not

          establish detrimental reliance).

                    More important than Pratt's subjective understanding is

          the  utter  lack  of any  facts  remotely  suggesting detrimental

          reliance.  "In assessing  detrimental reliance vel non,  the test
                                                         ___ ___

          is  one  of objective  reasonableness  under the  circumstances."

          Henry  v.  Connolly,  910  F.2d   1000,  1003  (1st  Cir.  1990).
          _____      ________

          Accordingly,  the question  here is  not  whether Pratt  actually

          believed, when  he filed  his first  habeas petition,  that then-

          prevailing  law would allow him to  file a second petition on the

          withheld ground  of ineffective  assistance of  trial counsel  so

          long as  he  could pass  muster  under McCleskey;  the  question,
                                                 _________

          rather, is whether such a  subjective belief, even if it existed,

          is objectively reasonable.

                    As a general  matter, reliance upon pre-AEDPA law  as a

          basis for  permitting a  second petition  rarely will  clear this

          hurdle.  The "cause and prejudice" test that McCleskey imposed to
                                                       _________

          screen  out  abusive  deployments  of  the  writ  is  notoriously

          difficult to pass.  See, e.g., McCleskey, 499 U.S. at 500; Murray
                              ___  ____  _________                   ______

          v. Carrier, 477 U.S. 478,  495-96 (1986); United States v. Shaid,
             _______                                _____________    _____

          937  F.2d  228,  236  (5th   Cir.  1991);  see  generally   Erwin
                                                     ___  _________

          Chemerinsky, Federal  Jurisdiction    15.4.3, at  809-11 (2d  ed.
                       _____________________

          1994).5  Pratt cannot satisfy its rigors.
                              
          ____________________

               5Of   course,  the   Seventh  Circuit   did   make  such   a
          determination in Burris,  95 F.3d at 469-70.  But there the court
                           ______
          predicated its finding of detrimental reliance on the notion that

                                          11














                    The  only reason that  Pratt advances for  exhuming his

          second habeas  petition from the  abuse of the writ  graveyard is

          our statement  in Bonneau v. United States,  961 F.2d 17, 23 (1st
                            _______    _____________

          Cir. 1992),  to the  effect that a  prisoner who files  a section

          2255 petition  in which  he alleges that  his attorney  failed to

          perfect a direct appeal "must be treated like any other appellant

          appealing for the first time."  But this statement has absolutely

          nothing  to do with  abuses of the writ;  as Bonneau itself makes
                                                       _______

          clear in  the immediately  succeeding sentence,  the language  on

          which Pratt relies only "means that [the section 2255 petitioner]

          does not  have to show  that there are  meritorious issues  to be

          appealed."     Id.     Because   Bonneau   merely  restates   the
                         ___               _______

          uncontroversial rule that a federal habeas petitioner who alleges

          a  Sixth Amendment deprivation grounded in his attorney's failure

          to perfect a  direct appeal need not prove  actual prejudice, see
                                                                        ___

          Penson v. Ohio, 488 U.S. 75, 88  (1988), the single sentence that
          ______    ____

          Pratt wrests out of context fails to serve his ends.

                    With  Bonneau out of  the picture, Pratt's  cupboard is
                          _______

          bare; he  has  not proffered  any other  basis for  a finding  of

          detrimental  reliance.    Consequently, we  have  no  occasion to

          consider the merits of the mousetrapping doctrine because Pratt's

          case does  not come within its ambit.   Accord In re Magwood, 113
                                                  ______ _____________

                              
          ____________________

          the government  had waived  any abuse  of the  writ defense  to a
          second   habeas  petition  during  proceedings  directed  at  the
          resolution of the  first petition.   See id.  In  contrast, Pratt
                                               ___ ___
          does not allege that any statement or conduct on the government's
          part lulled  him into  believing that it  would condone  a second
          section 2255 petition.

                                          12














          F.2d at 1552-53  (distinguishing, but not endorsing,  Burris); In
                                                                ______   __

          re Medina, 109 F.3d at 1562-63 (same).
          _________

                    To  recapitulate,  since  Pratt   has  not  shown  that

          application of AEDPA to his second section 2255 petition works an

          impermissible  retroactive effect, his  second petition is,  as a

          temporal  matter,  within  AEDPA's  jurisprudential  reach.   See
                                                                        ___

          Lindh, 117 S. Ct. at 2063.
          _____



                                          C.
                                          C.

                    Pratt has another string to his bow.  He maintains that

          the instant petition is not "second or successive" within AEDPA's

          contemplation and,  hence, is  not subject  to the new  statutory

          restrictions.

                    Like prior habeas  statutes, AEDPA does not  define the

          mantra "second or successive."  Courts  that have interpreted the

          same phrase in relation  to the pre-AEDPA version of 28  U.S.C.  

          2244(b) have determined that a numerically second petition is not

          "second  or  successive"  if  it  attacks  a  different  criminal

          judgment or if the earlier petition terminated without a judgment

          on the  merits.  See  2 James S.  Liebman &amp; Randy  Hertz, Federal
                           ___                                      _______

          Habeas Corpus Practice  and Procedure   28.3a, at  916-20 (2d ed.
          _____________________________________

          1994).   We agree  that AEDPA does  not blunt the  force of these

          interpretations, but  we are not persuaded that the emergent rule

          pertains in the circumstances presented here.

                                          1.
                                          1.

                    Decisions  that  construe  the  meaning  of "second  or


                                          13














          successive"  most frequently  concern a  court's  dismissal of  a

          prisoner's first  habeas petition  for failure  to exhaust  state

          remedies.   See, e.g.,  Howard v. Lewis,  905 F.2d  1318, 1322-23
                      ___  ____   ______    _____

          (9th Cir. 1990);  Hill v. Lockhart, 894 F.2d 1009, 1010 (8th Cir.
                            ____    ________

          1990) (en banc).  Recent post-AEDPA cases  have hewed to the line

          exemplified by Howard  and Hill and have preserved  the rule that
                         ______      ____

          if the original  petition did not produce an  adjudication on the

          merits a prisoner's later petition  will not be deemed "second or

          successive."  See, e.g.,  In re Gasery, 116 F.3d  1051, 1052 (5th
                        ___  ____   ____________

          Cir. 1997);  Christy v. Horn, 115  F.3d 201, 208 (3d  Cir. 1997);
                       _______    ____

          Dickinson v. Maine,  101 F.3d 791, 791 (1st  Cir. 1996); Camarano
          _________    _____                                       ________

          v. Irvin, 98 F.3d 44, 46 (2d Cir. 1996).
             _____

                    In  a  federal  forum,  habeas  petitions  that involve

          federal  prisoners, 28  U.S.C.    2255,  differ  from those  that

          involve  state  prisoners, 28  U.S.C.     2241-2254, in  that the

          former are not  constrained by an exhaustion requirement.   See 2
                                                                      ___

          Liebman &amp; Hertz, supra,   41.4a, at 1196.  In particular,  claims
                           _____

          of ineffective  assistance of counsel embodied in  a section 2255

          petition  generally are not  deemed procedurally defaulted simply

          because they were not raised on direct appeal.  See, e.g., United
                                                          ___  ____  ______

          States  v. Soldevila-Lopez,  17 F.3d  480, 485  (1st  Cir. 1994);
          ______     _______________

          United States v. Daniels, 3 F.3d 25, 26-27 (1st Cir. 1993).   The
          _____________    _______

          absence of  a procedural bar opens an opportunity for overlap:  a

          federal  prisoner bent  on  asserting  an ineffective  assistance

          claim can simultaneously  file a direct appeal of  his conviction

          and  a section  2255 petition,  resulting in  two federal  courts


                                          14














          concurrently  reviewing the  same  judgment.    To  prevent  such

          redundancy,   we  have   ruled  that   except  in   extraordinary

          circumstances  we will dismiss  a section 2255  petition claiming

          ineffective  assistance  of   counsel  as  premature  until   the

          prisoner's direct appeal concludes.   See United States v.  Diaz-
                                                ___ _____________     _____

          Martinez,  71 F.3d  946, 953  (1st Cir.  1995); United  States v.
          ________                                        ______________

          Gordon, 634 F.2d 638, 638-39 (1st Cir. 1980).
          ______

                    Pratt seizes  upon this  body of  authority and  argues

          that, under it, the district court probably would have  dismissed

          as  premature his ineffective  assistance of trial  counsel claim

          had  he  asserted it  in  his  original  petition.   Thus,  Pratt

          theorizes, failure to raise the  claim in the initial petition is

          no  different,  practically  speaking,  than  if  the  court  had

          dismissed it without deciding the merits.  Based on that analogy,

          he posits  that applying  AEDPA's restrictions  to pretermit  his

          later petition produces a fundamentally unfair whipsaw effect.

                    We find Pratt's suppositional ex post justification for
                                                  __ ____

          his  failure to  include the claim  of ineffective  assistance of

          trial counsel in his initial habeas petition unconvincing for two

          reasons.   First, and most obviously,  we have classified section

          2255 petitions  as premature  only when  the petitioner's  direct

          appeal was still  pending.  See, e.g., Diaz-Martinez,  71 F.3d at
                                      ___  ____  _____________

          953; Gordon, 634 F.2d at  638-39.  Because no appeal  was pending
               ______

          in Pratt's  case when he  began his quest for  collateral relief,

          the  claim of ineffective  assistance of trial  counsel would not

          have been subject to dismissal as premature under our precedents.


                                          15














          Second,  even  if  an included  ineffective  assistance  of trial

          counsel claim might have been sidetracked once the district court

          cleared  the  way for  a  direct  appeal,  cf. United  States  v.
                                                     ___ ______________

          DeFalco, 644 F.2d  132, 137 (3d Cir. 1979) (en banc), Pratt still
          _______

          had ample incentive  to include the claim in  his first petition.

          After all, he could not  predict whether the district court would

          grant his original petition on the single ground that he actually

          asserted   ineffective assistance anent counsel's failure to file

          a  timely appeal    and,  had the  district court  denied relief,

          Pratt  could not  have asserted  an unpreserved  claim either  on

          appeal or in a second petition.6

                    We  discern  no  unfairness in  holding  Pratt  to this

          regimen.  The requirement that all available  claims be presented

          in a prisoner's first habeas petition is consistent not only with

          the  spirit  of  AEDPA's restrictions  on  second  and successive

          habeas petitions, but also with the preexisting abuse of the writ

          principle.    The  requirement  serves  the  singularly  salutary

          purpose  of forcing federal  habeas petitioners to  think through

          all  potential post-conviction claims and to consolidate them for

                              
          ____________________

               6Although  the  existence  of an  incentive  may  affect the
          equitable  balance, we  note that,  even  in the  absence of  any
          incentive, the reported cases refuse to accept  the position that
          Pratt espouses.   For example, in Martinez-Villareal  v. Stewart,
                                            __________________     _______
          118  F.3d 628  (9th Cir.  1997) (per  curiam), cert.  granted, 66
                                                         _____  _______
          U.S.L.W. 3157 (U.S. Oct.  14, 1997) (No. 97-300), a case in which
          the habeas petitioner  had absolutely no  incentive to include  a
          claim of incompetency to be  executed in his first petition    in
          all  events,  that  claim automatically  would  have  been deemed
          premature    the Ninth  Circuit stated  that "a competency  claim
          must be raised in the first petition."   Id. at 634; accord In re
                                                   ___         ______ _____
          Davis, 121 F.3d 952, 955 (5th Cir. 1997).
          _____

                                          16














          a  unitary presentation  to the  district court.   This  exercise

          advances the cause  of judicial efficiency and  further justifies

          barring  Pratt's second petition.   See Richmond v. Ricketts, 774
                                              ___ ________    ________

          F.2d 957, 960 (9th Cir. 1985).

                                          2.
                                          2.

                    Pratt mounts  yet another  argument in  support of  his

          plea that we not treat his numerically second petition as "second

          or successive."   This argument derives from  the Rules Governing

          Section  2255 Proceedings   a set of rules that the Supreme Court

          has promulgated pursuant  to congressionally delegated authority.

          See 28  U.S.C.   2072  (1994).  Like  all similar  federal rules,
          ___

          these rules  carry the  force and  effect of positive  law.   See
                                                                        ___

          Swazo  v. Wyoming Dep't of Corrections State Penitentiary Warden,
          _____     ______________________________________________________

          23  F.3d   332,  333  (10th   Cir.  1994);  see  also   McCoy  v.
                                                      ___  ____   _____

          Massachusetts Inst.  of Tech., 950  F.2d 13, 21 (1st  Cir. 1991).
          _____________________________

          Rule 2(c) provides in relevant part that a habeas petition "shall

          be  limited to the  assertion of a  claim for relief  against one

          judgment only of the district court."

                    AEDPA  did  not  alter  Rule  2(c),  and  the  rule  is

          potentially significant  here because, after  the district  court

          granted Pratt's first  section 2255 petition, it  vacated Pratt's

          sentence and  resentenced him  in order to  trigger a  new appeal

          period.   On this basis,  Pratt asserts that the  second petition

          challenges a different judgment  and is therefore not  "second or

          successive."   This argument  is attractive at  first blush,  but

          blemishes emerge upon closer study.


                                          17














                    In the first  place, although Pratt grasped  avidly for

          this apparent lifeline when it  surfaced at oral argument in this

          court, the appearance marked its debut in the case.  It is firmly

          settled in this circuit that arguments not advanced and developed

          in  an appellant's  brief are  deemed waived.   See  Sandstrom v.
                                                          ___  _________

          ChemLawn Corp., 904 F.2d 83, 87 (1st Cir. 1990).
          ______________

                    In  the second place,  this laglast argument  is more a

          makeweight  than a  lifeline.   The  district  court's method  of

          restoring Pratt's right to an  appeal   vacating the sentence and

          then reimposing it    is standard practice  among federal courts.

          See, e.g.,  United States  v. Pearce, 992  F.2d 1021,  1023 (10th
          ___  ____   _____________     ______

          Cir. 1993);  Page v. United States,  884 F.2d 300,  302 (7th Cir.
                       ____    _____________

          1989).  Although a reentered judgment of conviction, identical in

          all  material  respects  to  the  judgment  that  it  supplanted,

          technically may be "new," the vital question for present purposes

          is  whether it  is a  type  of new  judgment that  is  subject to

          challenge in a  second habeas petition without  regard to earlier

          petitions addressed to the original judgment.  We hold that it is

          not.

                    Under   ordinary   circumstances,    a   prisoner   who

          successfully   brings   a  habeas   petition   and  is   retried,

          reconvicted,  and  resentenced  may collaterally  attack  the new

          judgment without fear of hindrance by the legal restrictions that

          encumber second or  successive habeas petitions.   See Palmer  v.
                                                             ___ ______

          Clarke, 961 F.2d 771, 774-75  (8th Cir. 1992); Richmond, 774 F.2d
          ______                                         ________

          at 960.   Nevertheless, this  opportunity to petition  freely for


                                          18














          post-conviction relief after a new  judgment of conviction is not

          unfettered.   As  a general  rule, a  prisoner who  had both  the

          incentive  and the  ability to  raise a  particular claim  in his

          first petition for post-conviction relief, but declined to assert

          it, cannot raise it the second time around.

                    To illustrate, if the relief granted  in response to an

          initial habeas petition addresses only the petitioner's sentence,

          he  customarily cannot  re-petition after  resentencing  based on

          alleged  errors   affecting  the  underlying  conviction.     See
                                                                        ___

          Richmond, 774  F.2d at 960.  The rationale  for such a holding is
          ________

          clear:    the  prisoner  had  ample  incentive  to challenge  the

          underlying  conviction in his  first request  for post-conviction

          relief since success  on a claim of trial error  would have wiped

          out the sentence and obviated  the need to address any sentencing

          bevues; and, assuming that the  prisoner had the ability to raise

          the  trial-error  claim  in  his  first  petition,  there  is  no

          principled reason  why the  restrictions designed  for second  or

          successive petitions should not apply.  See id.
                                                  ___ ___

                    This rationale applies squarely to Pratt.  He had every

          incentive  to assert  his claim  of  trial error  in his  initial

          section 2255  petition.   If the district  court agreed  that his

          lawyer's trial  performance was constitutionally  defective, then

          there would have been no need to appeal a faulty conviction.  The

          objective that  Congress had in  mind when  it placed curbs  on a

          prisoner's freedom  to file  multiple habeas  petitions would  be

          frustrated if  a prisoner could  negate the legal effect  of this


                                          19














          kind  of  omission by  the  simple  expedient of  filing  another

          petition.

                    There  is a related  reason why the  reentered judgment

          does not  transform the  legal landscape.   It is  an abecedarian

          rule that, in a  second petition for post-conviction relief,  the

          prisoner must be able to point to a new claim of error   that is,

          a claim of error unavailable the first time around (because, say,

          it could not  have been discovered in the  exercise of reasonable

          diligence  or  it  arose  after  the  resolution  of  the initial

          petition).  See 2 Liebman &amp; Hertz, supra,   26.3b, at 854-56; id.
                      ___                    _____                      ___

            28.1, at  896.  For example, if a habeas  petition results in a

          retrial that  yields a  new conviction, the  prisoner is  free to

          seek further habeas relief based on errors that transpired in the

          course  of  the new  trial.   See  Palmer,  961  F.2d at  774-75.
                                        ___  ______

          Similarly, if a  habeas petition results  in a resentencing,  the

          prisoner is free  to petition for further relief  based on errors

          that transpired in the course of the resentencing.  See Richmond,
                                                              ___ ________

          774 F.2d at 960.  In both  cases, the prisoner is seeking redress

          for  errors that he  could not have  challenged in  a prior post-

          conviction  proceeding unless  he  were clairvoyant.    Unpursued

          errors arising out  of events that occurred before  the filing of

          the initial habeas petition, and  which could have been, but were

          not, challenged in that petition, fall into a different category.

          Those  errors  normally  are  not  eligible for  inclusion  in  a

          subsequent habeas petition.  See Palmer, 961 F.2d at 774-75.
                                       ___ ______

                    Measured  against  the  rule,  as  explicated by  these


                                          20














          examples,  Pratt's asseveration falls short.  His current section

          2255 petition seeks  to set aside the underlying  conviction on a

          ground that he could have raised, but  did not, when he filed his

          first petition.   Pratt does not assert  any claim of  error that

          became available only after, or as a result of, the court's entry

          of a  new judgment of  conviction.  Thus, his  numerically second

          petition is in fact a second petition as AEDPA uses that term.

                                          D.
                                          D.

                    The end draws  near.  Pratt  concedes in his  appellate

          brief  that he  is unable  to satisfy  AEDPA's preconditions  for

          filing  a second  section  2255  petition.   In  any event,  this

          concession is compelled  by the record:  Pratt  neither claims to

          possess newly discovered evidence in support of  the petition nor

          invokes a  neoteric rule of constitutional law.   See 28 U.S.C.  
                                                            ___

          2255.

                    We need go no further.  Pratt failed to marshal all his

          claims of error  in his first section 2255  petition, and he must

          now pay the piper.  AEDPA governs here, and, on the facts of this

          case,  AEDPA's clear language prohibits Pratt from rectifying his

          omission by means of a second petition.

                    The district court's  dismissal of the  habeas petition
                    The district court's  dismissal of the  habeas petition
                    _______________________________________________________

          is affirmed.  The petitioner's appeal is  treated concurrently as
          is affirmed.  The petitioner's appeal is  treated concurrently as
          ___________   ___________________________________________________

          a  request  for leave  to  file  a  second or  successive  habeas
          a  request  for leave  to  file  a  second or  successive  habeas
          _________________________________________________________________

          petition and, as such, it is denied.
          petition and, as such, it is denied.
          ___________________________________






                                          21









